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IN THE UNITED STATES DISTRICT COURT ONT AUG 28 PH
FOR THE WESTERN DISTRICT OF TEXAS 9
AUSTIN DIVISION CLERK US DISTRICT

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PHILIP BRASFIELD, et al., oer
Plaintiffs,
-vs- . . Case No. A-05-CA-1009-SS
RISSI L. OWENS, et al.,
Defendants.

 

ORDER
BEIT REMEMBERED on the 21st day of June 2007, the Court called the above-styled cause
for a hearing and counsel were present in the courtroom. Before the Court were Plaintiffs’ Motion
to Certify Class [#340], Defendants’ Response thereto [#364], Defendants’ Amended and
Supplemental Motion to Dismiss Federal Claims in their Official Capacities [#345], and Plaintiffs’
Response thereto [#348]. Having considered the Motions and Responses, the applicable law, and
the case file as a whole, the Court enters the following opinion and orders.
Background
Plaintiffs’ live pleading is their Fourth Amended Complaint [#329] filed November 16, 2006.
Plaintiffs are offenders who have been convicted of felonies and incarcerated in the Texas
Department of Criminal Justice, and they seek class certification under Rule 23, Fourth Am, Compl.
{ 11. Plaintiffs mount numerous constitutional challenges to the parole review system in Texas and
contend the parole review process in Texas constitutes either a fraud or a mistake.
Defendants Rissi L. Owens, Jose Aliseda, Jr., Charles Aycock, Jackie DeNoyelles, Linda

Garcia, Juanita M. Gonzalez, and Elvis Hightower are members of the Texas Board of Pardons and
 

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Paroles (the “Parole Board”), and they are sued in their official capacities only. Defendants Gerald
Garrett, Thomas G. Fordyce, Pamela D. Freeman, James Paul Kiel, Jr., James C. Poland, Lynn
Ruzicka, Edgar Morales, Charles Shipman, Charles C. Speier, and Howard A. Thrasher, Sr. are
Parole Commissioners, and they are sued in their official capacities only.

Defendant Christina Melton Crain is Chair of the Texas Board of Criminal Justice, Brad
Livingston is Executive Director of the Texas Department of Criminal Justice, Nathaniel Quarterman
is Director of the Correctional Institutions Division, Pamela Williams is Deputy Director for Support
Services for the Correctional Institutions Division, Rebecca Price is Assistant Director for
Classification and Records. Crain, Livingston, Quarterman, Williams, and Price are referred to
collectively as “TDCJ,”and they are sued solely in their official capacities.

Plaintiffs specifically assert the following federal claims: violation of separation of powers;
violation of the Fifth Amendment Double Jeopardy Clause; violation of Article I, Section 10, the
Ex Post Facto Clause; violation of the Fourteenth Amendment Due Process Clause; and violation
of the Thirteenth Amendment prohibition of involuntary servitude. Plaintiffs also assert numerous
state law claims. Fourth Am. Compl. § 169-207. Plaintiffs seek declaratory relief and injunctive
relief.’

Analysis
I. Plaintiffs’ Motion to Certify Class [#340]
Plaintiffs seek to certify a class under Federal Rule of Civil Procedure 23(a) and 23(b)(2).

A court may certify a class under Federal Rule of Civil Procedure 23 only if the proposed class meets

 

' Plaintiffs also state that upon a favorable ruling on one or more of their constitutional claims, they
will seek to engage this Court to adjudicate a second class action involving habeas corpus remedies.

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all the requirements of section (a) and at least one prong of section (b). Plaintiffs have not met all

of the requirements of Rule 23(a) as discussed below.

Plaintiffs seek to bring this case as a class action under Federal Rule of Civil Procedure 23(a)

and (b)(2), and they propose two classes with two subclasses. The common denominator applicable _

to all Plaintiffs is they are subject to the Texas Parole Board’s discretion.

The proposed definition of Class One is:

All current and future Texas inmates presently incarcerated for an indeterminate
sentence which necessarily requires the granting of a parole if an inmate is to be
released prior to serving their maximum sentence day for day (i.e. calendar time).

Under this broad class, Plaintiffs ask for the creation of two subclasses:

(1) The first subclass, termed the active class, shall consist of all Named
Plaintiffs (i.e. representative clients) that have financially supported this litigation
through payment of a moderate legal fee (i.e. $400). Counsel for the class will
maintain this list of active class members and keep opposing counsel abreast of new
additions periodically or as requested.

(2) The second subclass, termed the dormant class, shall consist of all
remaining incarcerated Texas inmates eligible for parole, excluding of course those
inmates exercising their prerogative to opt out of the class.

Motion for Class Cert. Memo. at 2.

The proposed definition of Class Two is:

All currently and future paroled Texas inmates subject to the supervision of these
Defendants whose right to remain in free society is subject to their discretion, plus
all incarcerated Texas inmates serving time for technical violations occurring while
on parole or probation, whose release necessarily requires the granting of a new
parole if an inmate is to be released prior to serving their maximum sentence in
calendar time.

Under this broad class, Plaintiffs request the following subclasses:

(1) The first subclass, termed the active class, shall consist of all similarly
situated Texas inmates that have financially supported this litigation through payment

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of a $400 fee. Counsel for the class will maintain this list of active class 2 members
and keep opposing counsel abreast of additions periodically or as requested.

(2) The second subclass, termed the dormant class, shall consist of all former

Texas inmates that cannot financially support the maintenance of this litigation. All

remaining Texas inmates shall fall into this class by default, excluding of course

those paroled inmates exercising their prerogative to opt out of the class.

Id. at 2.

A. Rule 23(a)

Under Rule 23(a), the party seeking class certification must show: (1) the class is so
numerous that joinder of all members is impracticable, (2) there are questions of law or fact common
to the class, (3) the claims or defenses of the representative parties are typical of the claims or
defenses of the class, and (4) the representative parties will fairly and adequately protect the interests
of the class. FED. R. Civ. P. 23(a). The party seeking certification has the burden of proof on Rule
23's requirements. McManus v. Fleetwood Enters., Inc., 320 F.3d 545, 548 (Sth Cir. 2003). “The
district court has wide discretion in deciding whether or not to certify a proposed class.” Jenkins v.
Raymark Indus., Inc., 782 F.2d 468, 471-72 (Sth Cir. 1986).

“Although ‘the strength of a plaintiff's claim should not affect the certification decision,’
it is necessary for the district court to go beyond the pleadings to determine whether the requirements
of Rule 23 have been met: ‘a court must understand the claims, defenses, relevant facts,. and
applicable substantive law in order to make a meaningful determination of the certification issues.”
Cole v. Gen. Motors Corp., 484 F.34717, 724 (Sth Cir. 2007) (quoting Castano v. Am. Tobacco Co.,

84 F.3d 734, 745 (5th Cir. 1996)). The Court must also consider “how a trial on the merits would

be conducted” if the class was certified. Castano, 84 F.3d at 740.
 

 

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I. Numerosity

To establish numerosity for purposes of Rule 23(a), it is not necessary to demonstrate the
number of persons in the class with absolute precision where reasonable estimates show the class
is numerous and geographically dispersed. Henry v. Cash Today, Inc., 199 F.R.D. 566, 569 (S.D.
Tex. 2000) (citing Zeidman v. J. Ray McDermott & Co., 651 F.2d 1030, 1038 (Sth Cir. 1981);
Abrams v. Kelsey-Seybold Med. Group, Ine. 178F.RD. 1 16, 128 (S.D. Tex. 1997)). Plaintiffs must
demonstrate that the class is “so numerous that joinder of all members is impracticable.” Garcia v.
Gloor, 618 F.2d 264, 267 (5th Cir. 1980). The threshold question is generally the practicability of
_ joinder, which depends on the size of the class, ease of identifying its members and determining their
addresses, facility of making service on them if joined and their geographic dispersion. Jd.

Plaintiffs have shown the class is so numerous that joinder of all members is impracticable.
Plaintiffs estimate there are 168,105 incarcerated members in the first class and 428,773 members
in the second class. Fourth Am. Compl. at 6. Defendants respond that the number of members in
proposed Class One is actually less than 2,500 prisoners because Class One only seeks to include
persons incarcerated for “indeterminate sentences.” Under either set of numbers, however, the Court
finds the proposed class meets the numerosity requirement particularly because joinder of all
members of Classes One and Two is impracticable due to the constant turnover in the prison and
parolee populations and the administrative difficulties attendant to making service on populations,
such as inmates, who may frequently be moved from one prison to another.

ii. Commonality

The second prerequisite refers to shared issues of law and fact. The commonality

requirement is not a high burden. Bertulli v. Indep. Ass’n of Cont’! Pilots, 242 F.3d 290, 296-97

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(5th Cir. 2001). “It does not require a showing that the interests and claims of class members are
identical, but only that ‘there is at least one issue, the resolution of which will affect all or a
significant number of the putative class members.” Cash Today, 199 F.R.D. at 569 (quoting
Lightbourn v. County of El Paso, Tex., 118 F.3d 421, 426 (Sth Cir. 1997)), Although Plaintiffs have
raised several legal questions common to a number of putative class members,” each class member
has his own unique facts and circumstances. As explained below, the resolution of the issues raised
in this case is extremely impractical in the context of a class action, and Plaintiffs have not met their
burden of showing commonality under Rule 23(a). See Stewart v. Winter, 669 F.2d 328, 336-37 (Sth
Cir. 1982) (upholding denial of class certification because common questions of law or fact were not
present in case challenging physical and environmental conditions at various county jails).

iii. | Typicality

This prong of Rule 23(a) “focuses on the similarity between the named plaintiffs’ legal and
remedial theories and the legal and remedial theories of those whom they purport to represent.”
Lightbourn, 118 F.3d at 426 (citing Flanagan v. Ahearn (Inre Asbestos Litig.), 90 F.3d 963, 976 (Sth
Cir.1996)). One purpose of the typicality requirement is to ensure that the representative’s interest
is “aligned with those of the represented group, and in pursuing his own claims, the named plaintiff
will also advance the interests of the class members.” Basco v. Wal-Mart Stores, Inc., 216 F. Supp.
2d 592, 599 (E.D. La. 2002).

Even though there are common issues of law and fact present in this case, it is quite apparent
that no named plaintiff can represent the position of any other class member because the factual

position in each case is so different—each class member seeking release on parole has a different

 

> Fourth Am. Compl. at 8-9 (listing eight questions common to the class).

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history, conviction, and so on, and each parole violator has a different story and reason for being
revoked. Because no named Plaintiff or even group of named Plaintiffs can represent the positions
of other class members with regard to the parole consideration and revocation process, the typicality
requirement is not met in this case. “The factual questions inherent in making a parole decision . ..
involve too many individual case variations to be the proper subject of a class action.” Geraghty v.
United States Parole Comm’n., 719 F.2d 1199, 1205 (3d Cir. 1983) (citing Locicero v. Day, 518
F.2d 783, 785 (6th Cir. 1975)). Any named plaintiff could not advance the interests of the class
members because Defendants would have an individual defense with regard to each Plaintiff and
each factual circumstance regarding why mandatory supervision or parole was not granted or was
revoked.

This Court has received a number of letters and motions from various prisoners asserting that
the interests of the Named Plaintiffs do not represent their interests. See, e.g., Docket Entries [# 264,
269, 303, 304, 308, 310, 334, 335]. Some of these motions and letters have requested permission
to opt out of the putative class even though no class has yet been certified. Others request to be a
named party or intervenor in order to raise the legal and factual issues relating to their own personal
circumstances. Others object to the Named Plaintiffs or their counsel for an assortment of reasons.
In fact, this case and this Order have been delayed substantially by the multitude of individual filings
and attempts at interlocutory appeals, making it virtually impossible for the Court to proceed. These
letters and motions bolster the Court’s conclusion that the interests of Named Plaintiffs are not
typical of all members of the proposed classes.

Atthe June 21, 2007 hearing, the Court inquired of Plaintiffs’ counsel what specific remedies

he was seeking in this case. Counsel stated he wanted the Court to: (1) require the parole board to

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give serious consideration for release for every parole eligible candidate; (2) change the parole
decision form to add the date the crime occurred, the legislation in force at the time of conviction
regarding the penalty applicable, the redison for any parole denial and a factual basis supporting the
reason, signed by the parole decisionmaker, and listing the members of the panel; (3) provide a
broader avenue for appealing the denial of parole; (4) require that more sincere attention be paid
when mandatory supervision release is denied and that more than a mere parroting of the statutory
language be provided; (5) prohibit the Parole Board from going beyond the affirmative findings of
a court with regard to the type of offense committed; and (6) enjoin the use of halfway houses on
mandatory supervision. Examination of these requested remedies further illuminates the fact that
no named plaintiff can pursue and advance the interests of class members because each inmate or
paroled inmate is uniquely situated when it comes to the type of parole review they receive, the crime
of which they are convicted, their behavior and circumstances leading up to review, and the reasons
for any denial of parole or release to mandatory supervision or revocation.

Each Plaintiff is injured, if at all, in a unique or individual manner, and these claims appear
to be far more appropriate for individual treatment, in which the facts and circumstances of each
inmate can be developed and the constitutional framework applied to specific fact scenarios. See,
e.g., LoCicero, 518 F.2d at 785 (“There are many facts that enter into the consideration of whether
or not an individual prisoner is entitled to parole. ... Assuming arguendo, that the appellant could
establish . . . his right to parole, this would not mean that all members of the alleged class... would
also be entitled to release on parole.”). Even considering the option of subclasses, there is still no
typical named plaintiff who could advance the interests of all subclass members. For the reasons set

forth above, the Court finds Plaintiffs have not met their burden of showing typicality.

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iv. Fair and Adequate Representation

Because class actions adjudicate the rights of absent class members, due process requires the
proposed class representatives to establish that the named plaintiffs and their counsel will adequately
and fairly represent the interests of those absent individuals. FED. R. Civ. P. 23(a). In determining
whether a plaintiff-representative can satisfy this requirement, courts have focused on whether the
plaintiff-representative’s interests are coextensive with those of the class. Durrett v. John Deere Co.,
150 F.R.D. 555, 558 (N.D. Tex. 1993). Specifically, the Court must examine whether there is a
sufficient nexus between the representative’s and the class’s interests to ensure vigorous prosecution
of the action, whether the representative’ s interests are antagonistic to those of the class, and whether
there is adequate financial support from the representative for the litigation. Id. (citing Jn Re S. Cent.
States Bakery Prods. Antitrust Litig., 86 F.R.D. 407, 417 (M.D. La. 1980)). “Special attention must
be given to the issue of representativeness because . .. [its] requisites flow from the demands of due
process.” Id. (citing Hansberry v. Lee, 311 U.S. 32 (1940)).

The Court finds Plaintiffs have not met this standard because the proposed class
representatives, who have not even been named to date, do not have interests coextensive with the
class.? When Plaintiffs cannot even choose designees for the class and/or subclass representatives,
the Court finds their allegation that all active Plaintiffs, who have paid a fee to Plaintiffs’ counsel,
are representative of all unnamed class members to be wholly incredible. The very fact that

Plaintiffs do not request that any one or more specific plaintiffs be designated as a plaintiff-

 

3 With regard to adequate counsel, Plaintiffs’ counsel Norman Sirak has shown himself to date to
be willing and able to vigorously prosecute this action; however, this does not affect or cure the problems
with regard to adequacy of class representatives.

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representative for this lawsuit indicates that there is no “typical” Plaintiff and that one or even a few
Plaintiffs cannot fairly and adequately represent the interests of all class members.

For example, the named plaintiff in this suit, Phillip Brasfield, cannot adequately represent
the interests of either proposed class because he is serving an indeterminate life sentence, under
which he will never be factually eligible for mandatory supervision because his calendar time and
his good time will never add up to life. See Arnold v. Cockrell, 306 F.3d 277 (Sth Cir. 2002).
Neither is Brasfield a current parolee, nor an inmate who has been incarcerated after a technical
parole violation. Further, it is entirely speculative as to whether Brasfield will ever be a future
parolee. Accordingly, Brasfield is not an appropriate class representative because his situation is
inherently unique and different from other class members and because he cannot seek the same
declaratory and injunctive relief as other proposed class members.

Finally, the Court has substantial doubts with regard to Plaintiffs’ ability to provide the
financial resources necessary to adequately represent the proposed classes. To date, the Court
understands that each of the “active Plaintiffs” have paid Plaintiffs’ counsel $400.00 to be an active
member of this lawsuit; however, the Court is unaware how much of this fund has already been spent
in litigating this case to date and whether there will be any additional payments to cover the costs
and expenses arising from this proposed class action in the future.

The Court is not at all impressed with Plaintiffs’ argument that few Plaintiffs would be able
to file and litigate individual cases to redress the challenged parole actions because most of them are
indigent. This is exactly what 28 U.S.C. § 1915, the in forma pauperis statute, is designed to

remedy.

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Simply put, Plaintiffs have not established that the representative plaintiffs will adequately
and fairly represent the interests of absent class members.

B. Rule 23(b)

Having determined Plaintiffs have not demonstrated that each prong of Rule 23(a) is met,
the Court need not reach the question of whether or not Rule 23(b) is met.
II. Defendants’ Amended and Supplemental Motion to Dismiss Federal Claims in their
Official Capacities [#345]

Defendants move under Rule 12(b)(6) to dismiss Plaintiffs’ federal claims for failure to state
a claim upon which relief may be granted. In deciding whether to dismiss for failure to state a claim
pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, “the Court must take the factual
allegations as true, resolving any ambiguities or doubts regarding the sufficiency of the claim in
favor of the plaintiff.” Fernandez-Montes v. Allied Pilots Ass'n, 987 F.2d 278, 284 (Sth Cir. 1993).
A court should then dismiss a complaint only if “it appears beyond doubt that the plaintiff can prove
no set of facts in support of its claim which would entitle him to relief.” Conley v. Gibson, 355 U.S.
41, 45-46 (1957). The plaintiff is only required to give a short and plain statement of his claim that
gives his opponent fair notice of what his claim is and the grounds on which it rests. Jd. at 47.

Although generally disfavored, a dismissal pursuant to Rule 12(b)(6) is sometimes
appropriate. Even under the liberal pleading standard set forth by Rule 12(b)(6), the Court may not
assume that the plaintiff can prove facts that he has not alleged. Campbell. v. Wells Fargo Bank,
N.A., 781 F.2d 440, 443 (Sth Cir. 1986). Moreover, dismissal is appropriate where the complaint is
devoid of facts to establish any one of the required elements of the claim asserted. Blackburn y. City

of Marshall, 42 F.3d 925, 931 (5th Cir. 1995).

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A. Separation of Powers

Defendants move to dismiss Plaintiffs’ separation of powers claims. Under the separation
of powers doctrine, certain powers are reserved exclusively to the Legislative, Executive, and
Judicial branches of government. A separation of powers violation occurs when one branch of
government usurps authority exclusively entrusted to another branch of government. Plaintiffs assert
the separation of powers doctrine is violated when the executive branch (Defendants) alter the
unambiguous terms of judiciary-issued sentences, such as when Plaintiffs, after having parole
revoked, are not credited with having served the part of their sentence while they were released on
parole or when Plaintiffs are not credited with time spent in an Intermediate Sanction Facility.
Fourth Am. Compl. § 85. Plaintiffs also claim that for crimes enumerated under § 3(g) of Article
42.12 of the Texas Code of Criminal Procedure,! the parole board denies parole based on findings
not made by ajury. Jd 994. Third, Plaintiffs claim the separation of powers doctrine is violated
because Defendants have a practice of cancelling good conduct time credits just before an offender
leaves prison, in contradiction of court’s declarations to juries regarding good time credits and the
possibility of early release. Id. J 104.

Defendants move to dismiss Plaintiffs’ separation of powers claims because there is no
mandatory federal separation of powers doctrine applicable against the states; thus, Plaintiffs have
failed to state a constitutional claim against Defendants. See Sweezy v. State of New Hampshire, 354

USS. 234, 255 (1957) (“[T]his Court has held that the concept of separation of powers embodied in

 

* The enumerated crimes include murder, capital murder, indecency with a child, aggravated
kidnapping, aggravated sexual assault, aggravated robbery, sexual assault, possessing a deadly weapon in
connection with a felony or flight from a felony, and certain repeated violations of the Health and Safety
code. TEX. CODE. CRIM. PRO., Art. 42.12, § 3g.

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the United States Constitution is not mandatory in state governments.”) (citing Dreyer v. People of
State of Ilinois, 187 U.S. 71 (1902)); see also Int’l Brotherhood of Teamsters v. Hanke, 339 U.S.
470, 479 (1950) (“The Fourteenth Amendment leaves the States free to distribute the powers of
government as they will between their legislative and judicial branches.”). It is for the state to
determine whether and to what extent its powers shall be kept separate between the three branches
of state government. See Dreyer, 187 U.S. at 84 (“Whether the legislative, executive, and judicial
powers of a state shall be kept altogether distinct and separate, or whether persons or collections of
persons belonging to one department may, in respect to some matters, exert powers which, strictly
speaking, pertain to another department of government, is for the determination of the state.”).

Plaintiffs have failed to state a viable constitutional claim for a federal separation of powers
violation against Defendants, and the Court grants Defendants’ motion to dismiss in this respect.
Plaintiffs have not pleaded that any branch of the federal government was infringing upon the
authority of another branch of federal government; thus, Plaintiffs have not pleaded a cause of action
under the federal separation of powers doctrine.”

B. Double Jeopardy

The double jeopardy clause provides “nor shall any person be subject for the same offense
to be twice put in jeopardy of life or limb... .” U.S. CoNsT. amend. V. Plaintiffs claim
Defendants’ refusal to give parolees credit toward their sentences for time served while ina “halfway
house” if parole is later revoked violates the double jeopardy clause because it effectively forces

such inmates to serve part of their sentence twice. Fourth Am. Compl { 116.

 

> This ruling does not apply to any state separation of powers claim Plaintiffs may have asserted
under the Texas Constitution.

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Defendants move to dismiss Plaintiffs’ double jeopardy claims because the refusal to give
a parolee credit toward his sentence for the time served while on parole is not a violation of double
jeopardy under Fifth Circuit law. See Morrison v. Johnson, 106 F.3d 127, 129 n.1 (Sth Cir. 1997)
(holding that requiring a revoked parolee to serve the entire portion remaining on his sentence
without credit for the time from his release date until his revocation date did not violate the Double
Jeopardy Clause) (citing Cortinas v. United States Parole Comm’n, 938 F.2d 43, 46-47 (Sth Cir.
1991)); see also Thompson v. Cockrell, 263 F.3d 423, 426 (Sth Cir. 2001) (holding that the federal
and Texas statutes allowing the denial of street time credit after revocation of parole “do not raise
constitutional concerns.”). Under these cases, Plaintiffs have failed to state a double jeopardy claim
upon which relief may be granted, and Defendants’ motion to dismiss is granted in this respect.

Plaintiffs respond that halfway houses are in fact prisons, so time served in a “halfway house”
must be credited as time incarcerated, not street time. Street time on parole, whether served in a
halfway house or elsewhere, is factually and practically an opportunity for an inmate to serve less
time in the penitentiary than his maximum sentence. Plaintiffs focus exclusively on what happens
when parole is revoked and not at all on what happens when parole is successfully completed. If
Plaintiffs truly believe halfway houses are as restrictive as prisons, then they could request that they
not be granted parole to a halfway house but instead be allowed to complete their sentence in prison.
Because it is clear that no Plaintiff spends more time actually incarcerated than his or her full
sentence, Plaintiffs have not stated any claim for a violation of the double jeopardy clause.

C. Ex Post Facto Clause

Article L, Section 10 of the United States Constitution provides, “no State . . . shall pass any

... eX post facto law.” U.S. Const. art. I, § 10. The Ex Post Facto Clause “protects liberty by

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preventing governments from enacting statutes with ‘manifestly unjust and oppressive’ retroactive
effects.” Stogner v. California, 539 U.S. 607, 611 (2003) (quoting Calder v. Bull, 3 Dall. 386, 291
(1798)).
Plaintiffs complain Defendants have a practice of refusing to meaningfully consider offenders
convicted of certain crimes’ for parole upon their first eligibility and waiting until after subsequent
‘parole review hearings to make a determination to release such inmates. Fourth Am. Compl. {ff
125-26. Plaintiffs also claim a violation based on a legislative amendment that made the granting
of parole for certain crimes dependent upon securing votes from two-thirds of the entire membership
of the Board, rather than two out of three panel members. Jd. at { 127. Plaintiffs argue this
legislation makes it more difficult for such inmates to obtain parole. Jd. Plaintiffs also challenge
the enlargement of time between parole reviews; the current law gives the Parole Board authority
to issue a set off between parole reviews of between one to five years. Id. at { 128.

Defendants seek to dismiss all of Plaintiffs’ ex post facto claims. First, with regard to
Plaintiffs’ claim that the Parole Board delays the exercise of its discretion by failing to meaningfully
consider offenders convicted of certain crimes for parole upon their first eligibility, Plaintiffs have
not stated an ex post facto claim because they do not, and cannot, claim that the timing of their initial
parole eligibility review has changed since they were convicted. Jd. at 4 117-26; see Garner v.
Jones, 529 U.S. 244, 249-50 (2000) (holding that a law retroactively reducing the frequency of
parole reconsideration hearings did not violate the Ex Post Facto Clause).

Plaintiffs have failed to state a claim for relief with regard to votes requiring two-thirds of

the entire Parole Board because they have not alleged the procedure was applied retroactively to any

 

° Namely, murder, Section 3(g) crimes, sex offenses, and crimes against children.

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inmate. Several courts in this circuit have dismissed ex post facto claims challenging the two-thirds
voting requirement of § 508.046. See Goodwin v. Dretke, 150 F. App’x 295 (5th Cir. 2005) (denying
habeas relief because state court’s determination that prisoner was not entitled to habeas relief based
on parole board voting requirements was a reasonable application of federal law); Aldaco v.
Quarterman, 185 F. App’x 358, 359 (5th Cir. 2000) (same); Goodrich vy. Livingston, No. G-06-156,
2007 WL 128308 (S.D. Tex. Jan. 10, 2007) (dismissing as frivolous § 1983 plaintiff's claim that
§ 508.046 violated the Ex Post Facto Clause); Brooks v. Dretke, No. C.A.C-04-198, 2005
WL1745456 (S.D. Tex. July 22, 2005) (change in size of parole eligibility panel did not violate
either Ex Post Facto or Due Process clause). Plaintiffs have not stated a claim for a violation of the
ex post facto clause with regard to the two-thirds voting requirement and such claim is dismissed.

Plaintiffs also claim that current parole law which provides for between one to five year set-
offs of parole reviews violates the ex post facto clause with regard to inmates sentenced under the
65th and 70th Legislature, at which time parole review was scheduled annually. See Fourth Am.
Compl. §§ 128-34. Currently, an inmate, who has previously been denied release on parole, may
receive anywhere between a one-year and a five-year set off. TEx. GOVT. CODE § 508.141(g). The
United States Supreme Court held in Garner v. Jones that increases in the minimum number of years
between parole decision reconsideration did not violate the ex post facto clause, where they did not
modify the statutory punishment imposed or the standards for determining the criteria for, or initial
date of, parole eligibility. 529 U.S. at 250-57.

As in Garner, Section 508.141(g) does not modify the statutory punishment imposed or the
standards for determining the criteria for, or the initial date of, parole eligibility. The statute does

not modify or substantially alter any Plaintiffs’ sentence, and the Parole Board retains discretion with

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regard to the frequency of reconsideration. See TEX. GOVT. CODE § 508.141(g); 37 TEX. ADMIN.
CODE § 145.12(2). Thus, Plaintiffs have not stated a violation of the Ex Post Facto Clause with
regard to parole reconsideration set offs, and Defendants’ motion to dismiss is granted. See
California Dept. of Corrections. v. Morales, 514 U.S. 499, 509-14 (1995) (holding that California
legislation that allowed Parole Board to defer parole hearings so that they occurred less frequently
did not violate the ex post facto clause because the legislation created only the most speculative and
attenuated risk of increasing the measure of punishment attached to certain crimes); Allison, 66 F.3d
at 74-75 (5th Cir. 1995) (upholding dismissal of ex post facto claim relating to annual parole review
because the current law was consistent with the statutory requirements in place at the time the
plaintiff was convicted).

D. Due Process

The United States Constitution does not create a liberty interest in parole. Greenholtz v.
Inmates of Nebraska Penal & Corr. Complex, 442 U.S. 1,7 (1979). Likewise, Texas law makes
parole discretionary and does not create a liberty interest in parole that is protected by the Due
Process Clause. Orellana v. Kyle, 65 F.3d 29, 31-32 (5th Cir. 1995); see also Johnson v. Rodriguez,
110 F.3d 299, 308 (5th Cir. 1997). Because Texas inmates have no protected liberty interest in
parole, they cannot have a liberty interest in parole consideration or other aspects of parole
procedures. Johnson v. Rodriguez, 110 F.3d 299, 308 (Sth Cir. 1997) (stating that Texas prisoners
cannot mount a challenge against any state parole review procedure on procedural or substantive due
process grounds). It is entirely up to each State whether it chooses to create a parole system and the
amount of discretion with which it entrusts its parole decisionmakers. Texas’s discretionary

mandatory supervision law, in and of itself, is not a violation of due process.

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Parole is a privilege, not a right, even after an inmate accrues the minimum amount of time-
served credit necessary to be eligible for parole. See Greenholtz v. Inmates of Nebraska Penal &
Corr. Complex, 442 U.S. 1, 7 (1979) (convicted persons have no constitutional right to be
conditionally released before the expiration of a valid sentence); 37 TEX. ADMIN. CoDE § 145.3(1)
(“Release to parole is a privilege, not an offender right, and the parole decision maker is vested with
complete discretion to grant, or to deny parole release as defined by statutory law.”). An inmate who
has met the minimum requirement for time served under the applicable parole eligibility statute is
not automatically entitled to be released on parole; rather, he is only entitled to a review to determine
whether or not he will be released on parole. See 37 TEX. ADMIN. CODE § 145.3(1) (“[T]he parole
decision maker is vested with complete discretion to grant, or to deny parole release. . . .”) (emphasis
added); Allison v. Kyle, 66 F.3d 71, 74 (Sth Cir. 1995) (because a prisoner has no liberty interest in
obtaining parole in Texas, he cannot complain of the constitutionality of procedural devices attendant
to parole decisions). Regardless of when and how often inmates seek parole review, they are never
kept in prison beyond their maximum sentence date.

Plaintiffs claim Texas Government Code § 508.147 creates a liberty interest in mandatory
supervision and Defendants have a practice and procedure of arbitrarily denying inmates mandatory
supervision by giving cursory, insincere attention to the decision whether to release inmates on

mandatory supervision. Section 508.147 provides that “[e]xcept as provided by Section 508.149,
a parole panel shall order the release of an inmate who is not on parole to mandatory supervision
when the actual calendar time the inmate has served plus any accrued good conduct time equals the

term to which the inmate was sentenced.” TEX. GOV’T. CODE § 508.147(a). Section 508.149

governs inmates ineligible for mandatory supervision and lists anumber of reasons, including certain

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offenses; inmates whose accrued good conduct time is determined by a parole panel not to be an
accurate reflection of their potential for rehabilitation; and inmates whose release would endanger
the public. Jd. § 508.149.

Nowhere does the statute require a certain level of attention or time be spent by the parole
panel in making its decision; the only thing the statute requires is, if the parole panel determines not
to release an inmate under § 508.149(b), it shall “specify in writing the reasons for the
determination.” Jd. Plaintiffs do not claim parole panels are not specifying in writing their reasons
for denying release to mandatory supervision: rather, they complain their written explanations merely
parrot the statutory language and/or relate to unchanging characteristics, such as the nature of their
crime. Plaintiffs are simply not entitled to what they seek under the controlling Texas statutes.

To the extent Plaintiffs complain they have no avenue to appeal denials of release to
mandatory supervision, they are not entitled to any appeal, as the statute specifically does not provide
for appeals. TEX. GOV’T. CODE § 508.149(d) (“A determination under Subsection (b) is not subject
to administrative or judicial review, except that the parole panel making the determination shall
reconsider the inmate for release to mandatory supervision at least twice during the two years after
the date of the determination.”).

Finally, Plaintiffs claim parolees facing revocation suffer prolonged confinement because of
timing issues in holding preliminary and revocation hearings in violation of their due process rights.
It is true that parole revocation proceedings must satisfy the minimum requirements of due process
including “some minimal inquiry . . . at or reasonably near the place of the alleged parole violation
or arrest and as promptly as convenient after arrest while information is fresh and sources are

available.” Morrissey v. Brewer, 408 U.S. 471, 482-83 (1972). Mere unreasonable delay in

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providing the preliminary hearing does not constitute a per se violation of due process; a parolee
must demonstrate “actual prejudice” caused by the unreasonable delay. Villareal v. United States
Parole Comm’n., 985 F.2d 835, 837-38 (sth Cir. 1993). Plaintiffs have failed to state a claim
because they have not alleged they were in fact prejudiced by the alleged delays in the holding of
their preliminary and/or final parole revocation hearings. If one or more of the Plaintiffs believes
he was denied the due process to which he is entitled during the parole revocation process, the proper
relief to pursue is an individual writ of habeas corpus, as such a parolee would be alleging he was
suffering an unconstitutional imprisonment caused by actions whose unlawfulness would render his
revocation invalid.

Plaintiffs simply have not stated any claim that rises to the level of'a constitutional violation
regarding due process in the mandatory supervision context.

E. Involuntary Servitude

The Thirteenth Amendment to the United States Constitution provides: “Neither slavery nor
involuntary servitude, except as a punishment for crime whereof the party shall have been duly
convicted, shall exist within the United States, or any place subject to their jurisdiction.” U.S.
Const. amend. XIII. Plaintiffs assert they are being subjected to involuntary servitude when they
are released to mandatory supervision to “halfway houses.” Plaintiffs claim these halfway houses
are really prisons with work release privileges, and, when they are released under mandatory

supervision to such “halfway houses,” they are actually still incarcerated for their crime beyond the

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time authorized by their judges; therefore, they are subjected to peonage’ in violation of the
Thirteenth Amendment. Pls.’ Fourth Am. Compl. ff 165-68.

Defendants move to dismiss this claim because a parole panel may impose as a condition of
mandatory supervision any condition that a court may impose on a defendant placed on community
supervision under Texas Code of Criminal Procedure Article 42.12. See TEX. GOV’T CODE
§ 508.221. A court may require as a condition of community supervision that a defendant serve time
in a community corrections facility such as a halfway house. See TEX. CRIM. PROC. CODE arts.
42.11, 42.12, 42.18. Confinement of an inmate, such as a sex offender, at a halfway house, as a
condition to release on mandatory supervision, is not qualitatively different from conditions
authorized by statute and characteristically imposed on many other convicted sex offenders placed
on mandatory supervision. See Ex Parte McCurry, 175 S.W.3d 784, 785 (Tex. Crim. App. 2005).
Stringent conditions of mandatory supervision for sex offenders have been held constitutional as
long as they are provided their due process rights. Id, Coleman v Dretke, 409 F.3d 665 (Sth Cir.
2005). A plain reading of the Thirteenth Amendment also shows it does not apply to convicted
criminals serving punishments for their crimes. The Court finds Plaintiffs have failed to state a
claim under the Thirteenth Amendment for involuntary servitude and Defendants are entitled to
dismissal of this claim as a matter of law.

F. Injunctive Relief

Having determined Plaintiff's have failed to state any claim for relief under § 1983, the Court

finds they are not entitled to any prospective injunctive relief.

 

T Plaintiffs define “peonage” as compulsory service to work off an invalid, illegal, or unenforceable
debt or obligation owed to a master. Pls.’ Fourth Am. Compl. {165.

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G. State Law Claims
Plaintiffs have also claimed numerous violations of state law. A district court has
supplemental jurisdiction over state law claims that are part of the same case or controversy as the
cause of action over which the court has original jurisdiction. 28 US.C. § 1367(a). However, if a
court dismisses the claims over which it had original jurisdiction, it should decline to exercise
supplemental jurisdiction over the remaining state law claims. See 28 U.S.C. § 1367(c) (“A court
may decline to exercise pendant jurisdiction over a claim under subsection (a) if. . . the district court
has dismissed all claims over which it has original jurisdiction.”). In this case, the Court’s
jurisdiction rested on 42 U.S.C. § 1983, and the Court has concluded these claims should be
dismissed. Thus, the Court declines to exercise supplemental jurisdiction over Plaintiffs’ state law
claims, which are dismissed without prejudice.
Conclusion
In accordance with the foregoing:
ITIS ORDERED that Plaintiffs’ Motion to Certify Class [#340] is DENIED;
IT IS FURTHER ORDERED that Defendants’ Amended and Supplemental
Motion to Dismiss Federal Claims in their Official Capacities [#345] is GRANTED.
Plaintiffs’ Federal Claims under § 1983 and Plaintiffs’ state law claims are dismissed

without prejudice; and

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IT IS FINALLY ORDERED that all remaining pending motions are
DISMISSED AS MOOT.
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SIGNED this the A8 “day of August 2007.

/itnrdtearfee—~

SAM SPARKS Ch
UNITED STATES B{STRICT JUDGE

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